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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         *

                v.                               * Case No. 1:21CR00166 (TFH)

ROBERT MAURICE REEDER                            *

                                               *****

                         MEMORANDUM IN AID OF SENTENCING

       The Defendant, by and through his attorney, Robert C. Bonsib, Esq. and the law office of

MarcusBonsib, LLC, hereby submits this Memorandum in Aid of Sentencing and, in support

thereof, states as follows:

       I.       PROCEDURAL BACKGROUND

       On June 23, 2021 the Robert Reeder ("Reeder") appeared before the Honorable Thomas

F. Hogan and entered a guilty plea to count four of the criminal information in which he was

charged with a violation of 40 U.S.C. 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a

Capitol Building. The Court ordered a Pre-Sentence Report (“PSR”)

       Sentencing in this matter is presently scheduled for August 18, 2021.

       II.      PRE-SENTENCE REPORT

       Reeder reviewed the PSR and, with the exception of the following comments, otherwise

has no requested additions or modifications the PSR.

       Paragraph 20:          Reeder entered and remained in the Capitol ground without lawful

authority. Contrary to what is reported in Paragraph 20, Reeder's actions did not include "violent

and disorderly conduct which impeded or disrupted the orderly conduct of Government business

or official functions." He did enter the Capitol Building and engaged in conduct which he
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accepted responsibility for and that is fairly characterized as meaning the statutory definition of

"parading."

       Paragraph 23: Reeder engaged in conduct that violated the statute to which he pled guilty

- to the extent that when this paragraph states that Reeder's role "was instrumental in the

commission of the instant offense" refers to his parading or demonstrating in the Capitol

Building - he agrees. To the extent that this paragraph is intended to refer to some other

"offense" - Reeder disagrees.

       Paragraph 24: Reeder objects to his being included in a crowd that is described as "a

large crowd of individuals who gathered outside the US Capitol and ultimately forced entry

inside the building.    Those individuals' actions included breaking windows and assaulting

members of law enforcement as others in the crowd encouraged and assisted those acts to gain

entry into the US Capitol.

       Reeder's conduct was individual and significantly and substantially different from many

others in the "crowd." He did not engage in "forced entry," did not participate in "breaking

windows and assaulting members of law enforcement" and was not one who "encouraged and

assisted those acts to gain entry into the US Capitol."

       While there were others who damaged the US Capitol, not only did Reeder not engage in

such conduct, it is clear, as is discussed in more detail in other portions of this sentencing

memorandum, that Reeder took action to discourage others from damaging the Capitol and its

contents. Reeder's conduct is more accurately and specifically described herein.

       The United States Probation Office has recommended a term of 24 months of probation

as an appropriate sentence in this matter.




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       III.    REEDER'S CONDUCT AND ACTIVITY ON JANUARY 6, 2021 AND
               THEREAFTER

                                            Overview

       Robert Reeder is a fifty-five year old man who began January 6, 2021 sitting in his home

in Maryland watching TV. He saw on TV that there was going to be a rally in D.C. near the

White House where President Trump was to speak at 11 am.

       Having nothing better to do and believing that the rally would be an interesting event to

attend, he left his home and boarded the Metro and headed by himself into D.C. where he arrived

around 11:30 when the rally was already in progress.

       At the rally it was difficult to hear, and Mr. Reeder did not even hear Mr. Trump's speech,

After going to the Mall, Reeder had intended to go visit several of the monuments and memorials

while in D.C., however, he changed his plans when he heard people talking about going to the

Capitol and that Trump was coming with them. He decided to also go, but did not walk with the

main crowd on Constitution Avenue, and instead walked by himself with a different and smaller

crowd on the Mall.

       The atmosphere in the crowd was initially festive, with mothers pushing babies in

strollers and people waving flags and proclaiming their love for America.

       When he got near the Capitol building, he started taking pictures and videos of the crowd

and walked towards the bandstands where he was suddenly exposed to tear gas. In an effort to

find water to wash out his eyes, he went to the entrance of the Capitol building, where 5-6 police

officers were standing alongside the doorway with the doors wide open. He asked for directions

to a bathroom or water fountain. The officers were standing near the walls and neither verbally

nor otherwise attempted to keep Mr. Reeder from walking into the building.

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       Once inside the Rotunda, Mr. Reeder, who had never been in the Capitol before, was

struck by the awe and the beauty of the Rotunda and began taking pictures and videos. As he

followed a few people into Statutory Hall, he is heard on video repeatedly yelling to those

present "don't destroy anything" because he saw people posing next to the statutes for pictures.

       He remained in the building for brief period of time and when he noticed that too many

people had begun to yell and not act with respect inside the Capitol Building, he looked for a

way out of the building. With the help of a Capitol Hill policeman, he was able to leave the

building. He only entered the Rotunda and Statuary Hall and never entered any offices or

restricted spaces and did not touch or vandalize anything while he was in the Capitol building.

       Once Mr. Reeder was able to leave the Capitol building, at approximately 4:15 pm he

headed back to the Metro, and took the subway back home in Maryland and was back by

approximately 5:15 pm. Once home, he turned on the TV and then realized the full extent of the

riotous behavior that was occurring at the Capitol and was disgusted and horrified at what he was

watching live on TV.

       Mr. Reeder is not politically active, is not and has never been a member of any right-wing

or anti-government or extremist group and has, unfortunately, been publicly grouped with many

others who views he abhors. Mr. Reeder is a registered Democrat, and was not a Trump

supporter, although he did like the patriotic spirit that he believed that President Trump was

trying to instill in Americans.

       Mr. Reeder had never attended a political rally or protest prior to January 6th. He has

since suffered much as a result of his conduct on January 6th including the loss of his

employment, as well as the loss of friends, neighbors, co-workers, and many acquaintances, He

has been alienated by disappointed family members, including his son. He has endured

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irreputable damage to his reputation; all because of a spur of the moment decision and

regrettable mistake to attend a Trump rally and follow what he thought was peaceful group of

individuals to the Capitol to make their political views known. He does not want to be

remembered as or considered one of the unlawful or violent protestors that assaulted the Capitol

that day.

       From the beginning of the January 6th investigation, Mr. Reeder has fully cooperated

with law enforcement, and was among the first to voluntarily provided his personal pictures and

videos of what he observed and experienced, and provided any information in his memory and

possession to help in the investigation [Reeder video provided to the Court as Exhibit A of the

government's sentencing memorandum]. He thought that the videos and pictures he took would

help explain his actions at and inside the Capitol building.

       He has accepted responsibility for his bad judgement in entering the Capitol building by

pleading guilty to unlawfully parading inside the Capitol building.

                                             Timeline

January 6, 2021

@10:00 am

       Reeder is at home watching TV and sees that there is going to be political rally on the

Mall in the District of Columbia at which then President Donald Trump was expected to speak.

Reeder thought it might be last time to hear Trump speak so decided to go to the rally.

       Reeder went to the Metro and got off at Metro Center and walked to area of the rally.

       When Reeder got to the rally he could not really hear the speakers. Those present were

peaceful.

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       Reeder heard people say they were going to the Capitol. He originally did not follow the

crowd and walked to the Mall but as he was nearing the Air & Space museum, which was closed,

he decided to go toward the crowd gathering at the Capitol. The crowd he was walking with was

peaceful. There were families, women pushing children in strollers and otherwise engaging in

normal political speech.




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@2:31

        Reeder is observed on his video walking into the Capitol Building. Capitol police



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officers are observed standing by as Reeder passes through the open door. He asks the officers if

there is a water fountain available. While outside the Capitol he suffered the effects of tear gas

that had been blown in his direction and he was attempting to find water to wash the tear gas

from his eyes.




       As Reeder entered the building, he did not "breach" the entry. He walked through an

open door and no one attempted to stop him or advise him that he should not enter the building.

Many others had already entered the building and were calming walking in the building.

       Reeder is seen walking up the stairs and in the Rotunda. The activity observed at that

time was that of individuals mulling around. No evidence of violent activity or destructive

activity. To the contrary, what is most observed are individuals taking pictures.




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@2:41

        Reeder is walking calmly through the Rotunda and Statuary Hall area only taking

pictures and is heard repeatedly yelling "do not destroy anything, do not destroy anything."




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               [Reeder can be heard on the video saying "Do not destroy anything"]

         While the crowd is large and at times verbally loud and displaying Trump and other flags

there was no destructive or violent activity at this time and at this location.

@ 2:45

         Reeder is now on the outside of the building taking pictures of the crowd in the direction

of the Mall. He is not involved in any activity at this time other than taking pictures and

recording the activities below and beyond his position.

@2:48

         Reeder is seen walking outside the Capitol Building and is asking for directions as to the

way out. He is told by a police officer that he cannot continue in the direction he was going - a

path that he thought would lead him away from the Capitol Building. His exit path was blocked

by the large line of police officers, he reverses course and starts walking in the other direction.

Reeder asks the officer why he was told to go the way that another officer tells him he cannot go

that way. Reeder is heard say "we are trying to get out."




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                   [Reeder outside building asking for the "quickest way out"]




[Police officer tells Reeder "you're not coming this way'" - Reeder asks "why did they tell us this

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                         way?" and says "We are trying to get out of here."]
@3:03

         Reeder is now on the front steps of the Capitol.

@3:10.

         Reeder is outside the Capitol where video records the crowd chanting "USA - USA." He

is not one of the crowd doing the chanting.




@3:10 - 3:38

         Reeder has now re-entered the Capitol Building. The crowd has grown and is tightly

packed. There is pushing and shoving. Reeder is seen in his video and in the distance you can

see the exit from the Capitol. Reeder is trying to work his way to the entrance but because of

the press of the crowd - he is not able to make progress towards the exit.

         People can be heard saying "let us out." A number of people are trying to get out but

because of the press of the crowd - the crowd is jammed together in the doorway on the way to

the path to exit from the Capitol.




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   [Reeder is heard telling a police officer that there is a man laying there with a broken hip.]

         It is at this point that some in the crowd are chanting "Fight for Trump - Fight for

Trump." Reeder is not heard joining the chant. Most of the time Reeder is sitting quietly on a

bench in the entryway behind the police line waiting for the doors to open and the crowd to

leave.

         After the crowd inside was able to leave the Capitol, Reeder is able to leave the Capitol

with the assistance of a Capitol police officer.




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[When Reeder is recording events after he is able to exit the building, in a crowd of what appears
 to be hundreds - someone yells out - without warning -"Hang Mike Pence." Reeder had been
    recording events prior to this unexpected outburst and was not recording to capture that
                          particular statement - as it was unexpected]


       Once Reeder gets outside - there is a very large crowd. Someone or some persons in the

crowd are heard saying "hang Mike Pence - hang Mike Pence." There is absolutely nothing in

this portion of the video to connect Reeder to this chant. In fact, in what appears to be a huge

crowd, the voice heard making that chant appear to be an isolated few. Reeder cannot arbitrarily

be associated with those few.

       From the point that Reeder leaves from the Capitol Building and for the remainder of his

video he is simply videotaping what is going on. He is not heard to chant and he is not involved

in any violent or destructive behavior - and at no point up to this point has he engaged in any

such conduct.




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@3:43

        Reeder has now worked his way further away from the Capitol Building.




@4:05 - 4:30

        Reeder videotapes himself in front of the Capitol Building - but at some distance from the

building and says "I am leaving now but I got tear gassed at least four times. I walked by the

lady who got shot. It is completely crazy in there."




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         In the next clip Reeder records himself saying "Just left the Capitol. I was one of the last

people out [unintelligible]. I got gassed several times inside the Capitol, many times outside the

Capitol. Got shot with pepper balls. Had to battle with the police inside. It was crazy. Absolutely

insane." This comment was discussed by Reeder when he met with FBI agents and explained

that the words were poorly chosen and he was not speaking personally about his actions. See

Reeder interview statement excerpts, infra]

@ 4:32

         Reeder is outside the Capitol videotaping the crowd that is mulling around, waving flags

and generally making noise. Shortly thereafter Reeder leaves the Capitol Building area and goes

to the Metro station and arrives home between 5 and 6 pm.




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       Once home, Reeder turned on the TV and sees for the first the full extent of the riotous

behavior that was occurring at the Capitol. When interviewed by the FBI during his first

interview, Reeder expressed to the agents that when he was watching on TV what was going on

at the Capitol that "it made me sick."

January 15, 2021

       Reeder contacts undersigned counsel and tells him of his involvement during the January

6th incident.

January 19, 2021



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       Reeder is advised by a neighbor that the FBI was outside his residence today. Reeder

sends undersigned counsel the contact information for the FBI agent.

       Undersigned counsel, with Reeder consent and concurrence, contacts Assistant United

States Attorney ("AUSA") Thomas Windom to advise that Reeder was prepared to present

himself for service of any charging document that may have been issued for him.




January 20, 2021

       AUSA Windom contacts undersigned counsel and is advised that no warrant has been

issued for Reeder and that the agents just wanted Reeder to make himself available to be

interviewed. Undersigned counsel advises that Reeder has a cellphone that will document his

activities on January 6th and will make it available for inspection by the government.

Undersigned counsel further advises that a composite video has been prepared from the videos

and photos on Reeder's cellphone to assist in documenting Reeder's activities on January 6th and

offers to make that available to the government to further facilitate their understanding of


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Reeder's activities on January 6th.

       The composite video is emailed to AUSA Windom.




       AUSA Windom places a call to undersigned counsel later in the day and advises

undersigned counsel that he will have an FBI agent contact undersigned counsel to make

arrangements to pick up Reeder's cellphone.




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January 21, 2021

       Reeder drops his cellphone off at the law office of MarcusBonsib, LLC with the

understanding that Special Agent Alexandria Thoman will pick up the cellphone at the law office

of MarcusBonsib, LLC.

       Later in the day, Special Agent takes possession of Reeder's cellphone at MarcusBonsib,

LLC.

February 24, 2021

       Undersigned counsel receives a telephone call from AUSA Joshua Rothstein informing

undersigned counsel that a criminal complaint has been filed and that Reeder could voluntarily

surrender the next morning. (NOTE: At this time no effort had been made to follow up on

Reeder's offer to voluntarily meet with agents)

February 25, 2021

       Reeder presents himself to agents as instructed, has an initial appearance and is released

on his own recognizance with reporting requirements.

March 9, 2021


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       Telephone call with AUSA Rothstein who advised that a criminal information had been

filed in the United States District Court. Undersigned counsel again advised that Reeder was

prepared to assist in moving the matter forward and resolve the case and was willing to meet

with the government whenever the government wished to speak to him.

April 13, 2021

       Undersigned counsel in telephone call with AUSA Rothstein advises that Reeder is

prepared to resolve case early on and that the government does not need to be concerned about

providing extensive discovery in this matter as Reeder is prepared to acknowledge his

responsibility for his conduct in this matter.

       Undersigned counsel emailed Special Agent Thoman with suggested times for agents to

interview Reeder

April 20, 2021

       Reeder meets with FBI agents at the FBI office in Baltimore for almost two hours in a

recorded interview.

June 23, 2021

       Reeder appears before the Honorable Thomas F. Hogan and enters a plea of guilty to

count four of the criminal information in the above matter. Sentencing is scheduled for August

18, 2021.

July 1, 2021

       At the request of FBI agents and federal prosecutors, Reeder again meets with agents at

the FBI office in Baltimore.



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       V.      ROBERT REEDER'S PERSONAL BACKGROUND

       Reeder is fifty-five years of age.

       Until 2018, Reeder spent much of the last 18 years acting as a caregiver for his elderly

sick and dying parents while they were living in Maryland.

       Reeder is a registered Democrat. He did not care much for President Trump, although he

favored some of President Trump's policies and he was not a strong supporter of his Democratic

opponent in the election. He was not a member of any organized political group and had no

advance plans to attend the January 6th rally. It was a last minute, spur-of-the moment decision.

He did not attend as part of any organized group. He had no prior intention to be part of a group

that was going to march to the Capitol. To the contrary, it had been his plan to attend the rally

and then spend the remainder of the day visiting the museums and monuments on the Mall.

       The government had possession of his cellphone and did a forensic download of the

contents of his cellphone. Nothing was discovered that would suggest that he was part of any

group that was planning to attend the January 6th rally nor was anything discovered that

suggested he was otherwise involved in any organized political action group or organization.

       VI.     DIRECT CONSEQUENCES OF REEDER'S ACTIVITIES ON JANUARY
               6, 2021


       (i)     Loss of employment

       At the time of his arrest, Reeder was employed as a driver for FedEx Corporation and had

been so since 2018. As a result of his arrest in this matter, he has been placed on administrative

leave/has been terminated. He has not been able to secure steady employment since being

charged in this matter.


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       (ii)    Widespread publicity

       As a consequence of his arrest in this matter, Reeder has been the subject of a number of

media accounts lumping him with others involved in the January 6th incident. These

inflammatory and inaccurate accounts will continue to appear in the internet whenever anyone

searches the name Robert Reeder.

       Unfortunately, another consequence of this media and internet publicity, Reeder's 14 year

old son, who is also named Robert Reeder, will likely for a long suffer the consequences of

Reeder's conduct in this matter, most likely in some circumstances where he will never know

who has searched his background and disqualified him from advancements or opportunities

because he is confused with his father.

       (iii)   Loss of reputation

       Reeder has been vilified and his personal character and reputation will, if not forever, will

for the foreseeable future be tarnished by his involvement in the activities at the Capitol on

January 6th.

       VII.    GOVERNMENT'S SENTENCING MEMORANDUM

       The tone, analysis and recommendation contained in the government's sentencing

memorandum are troubling and hard to understand and square with the facts in this case. Reeder

came forward early, provided evidence, much of which was relied upon by the government to

support its criminal complaint and statement of facts in support of his guilty plea. Reeder twice

met with the government agents - first to fully explain and discuss his presence and activities on

January 6th and on the second occasions to assist FBI agents and an AUSA as they attempted to

identify individuals captured in photos and videos obtained from other sources. Reeder


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voluntarily appeared on both occasions. The second occasion was after his guilty plea and was

not required as part of any pre-plea debriefing requirement. He did so voluntarily and without

hesitation - just had he offered to do as far back and mid-January.

       Despite his overwhelming and continuing cooperation with the government, the

government now seeks to minimize Reeder's acceptance of responsibility because he does walk

"in lock step" with the government's theory regarding each and every fact and the reason for each

and every action of Reeder on January 6th. The government's position hardly sets an example

for those in the future who would seek to "do the right thing" by offering to cooperate and plead

guilty in a matter such as the instant one.

       The government, in its sentencing memorandum, states as follows:

       "This Court, in determining a fair and just sentence on this spectrum, should look to        a

       number of critical factors, to include: (1) whether, when, and how the defendant entered

       the Capitol building; (2) whether the defendant engaged in any violence or incited

       violence; (3) whether the defendant engaged in any acts of destruction; (4) the

       defendant’s reaction to acts of violence or destruction; (5) whether during or after the riot,

       the defendant destroyed evidence; (6) the length of the defendant’s time inside of the

       building, and exactly where the defendant traveled; (7) the defendant’s statements in

       person or on social media; (8) whether the defendant cooperated with, or ignored, law

       enforcement; and (9) whether the defendant otherwise exhibited evidence of remorse or

       contrition."

       Let's consider each of these factors:

       (1) whether and how the defendant entered the Capitol building


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       Reeder walked into the Capitol building, through an open door and, after

engaging in conversation with police officers, walked by them without violence - without

destroying anything - without threats or without any other aggressive conduct. This

entrance was confirmed by the video recorded by Reeder. This was Reeder's first time in

the Capitol building.

       Reeder second entrance occurred after he attempted to exit the Capitol area by

following the direction of a police officer and only after his exit path was blocked. While

his second entrance was not recorded, there is no evidence to suggest that his re-entry,

while unauthorized, was either violent or destructive.

(2) whether the defendant engaged in any violence or incited violence

       There is no evidence to suggest that Reeder engaged in any violence or incited

violence by others and, as noted in his interview with the FBI agents, he condemns the

violence and destruction that occurred.

(3) whether the defendant engaged in any acts of destruction

       Not only did Reeder not engage in any acts of destruction, he affirmatively and

repeated exhorted others not to engage in any destruction - a fact recorded in the video

provided to the government.

(4) the defendant’s reaction to acts of violence or destruction

       See #3 above.

(6) the length of the defendant’s time inside of the building, and exactly where the
   defendant traveled
       Reeder was present in and around the Capitol building for approximately 2:30 to

around 3:40 pm. He traveled only in public areas of the Capitol. He did not enter
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either Chamber of Congress nor any Congressional offices or other private areas.

       From his video it appears that Reeder was actually inside the Capitol building on

the first occasion from approximately 2:30, left the building seeking to exit the area and

then re-entered the Capitol building around 3:10, again leaving the Capitol building

around 3:40

(7) the defendant’s statements in person or on social media

       Reeder recorded himself on his private cellphone.       Once he returned to his

residence on January 6th and after he became sickened by what he observed on TV what

was going on at the Capitol the last thing he was interested in doing was posting anything

on social media. Reeder did not post anything after January 6th and deleted his Facebook

account shortly thereafter. Unlike others who during or after the events of January

6th who posted comments or videos or pictures on social media boasting of their

presence or activities on social media, Reeder recognized the mistakes he made in

participating in the events at the Capitol and was embarrassed and remorseful for his

involvement and had no interest in boasting or justifying his presence at the Capitol once

he had returned home and fully understood what was going on at the Capitol building.

(8) whether the defendant cooperated with, or ignored, law enforcement

       Early, consistently fully and often - that is the only way to fairly characterize

Reeder cooperation with law enforcement. Did anyone else make their presence known

to law enforcement and offer to cooperate as early as did Reeder? Did anyone not only

volunteer, before being asked, to turn over to law enforcement a composite video

evidencing their personal activities on January 6th to assist in the government's


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investigation?

(9) whether the defendant otherwise exhibited evidence of remorse or contrition

       How many others offered to plead guilty as early as Reeder? In his interviews

with the FBI agents, undersigned counsel observed the emotion exhibited by Reeder as he

recounted his activities and the acknowledged the wrongful nature of his conduct.

       On both occasions when Reeder met with FBI agents, agents commented on how

Reeder stood out amongst those that they interviewed, both as to his early cooperation,

but also as to how the agents did not have to "pull" information from him - but he

willingly sought to be as helpful as possible during his interviews with the FBI agents.

       An analysis of Reeder's conduct, using the government's own standards, does not

support in any manner to the government's recommendation for a custodial sentence.

Other comments in the government's sentencing memorandum are equally inapplicable to

Reeder and cause one to wonder if this is a template sentencing memorandum and one

not prepared to address the specific individual characteristics and conduct of Reeder.

Statements such as:

       "the Defendant purposefully joined a large group of rioter intent on interfering

       with the nation's electoral process"

       "chanting "Fighting for Trump" [Reeder did not so chant]

       "the Defendant had many opportunities to extricate himself and abide by the law,

       but never chose to do so" [Reeder's video confirms he sought assistance in

       removing himself from the Capitol building area and was blocked in that effort

       and only thereafter re-entered the building]

       "the Defendant consistently chose to be part of the riotous mob"


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               "not only did the Defendant choose the violate the law, he was intent that the

               world should see his contribution to the mayhem"

               "the Defendant choose to leave the rally and walk 1.7 miles from the Ellipse

               toward the U.S. Capitol building, filming the first steps in the breach of the

               Capitol. The Defendant had almost two miles to change his mind and decide to

               turn back. But instead he chose to press forward". [pictures of walking - many

               have paraded to Capitol etc]

               "the Defendant chose to be a lawless rioter rather than a peaceful protestor"

               [rioter]

               "the Defendant chose to be part of the desecration of the Capitol rotunda."

               "unlike many of the other rioters, the Defendant chose to leave the Capitol and

               then illegally re-enter the building from the eastern front of the building" [earlier

               said never left]

               "the Defendant chose to stand among the crowd and record as they yelled "Hand

               Mike Pence."

       These statements are not supported by the evidence in this case as has been demonstrated

in this memorandum.

       In a gross understatement the government memorandum barely tips it hat in Reeder's

favor with its brief comment that "the government notes that from the outset, through his

attorney, the Defendant expressed a desire to plead guilty and promptly resolve this case. When

recommending an appropriate sentence, the government gives significant weight to the

defendant's early resolution of this case."   This memorandum more fully and accurately

reports the full nature and extent of Reeder's cooperation and, by his conduct, his acceptance of



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responsibility for his actions on January 6, 2021. Through his counsel in early offers to plead

guilty, in his interview with the FBI agents, before the Court and in his interview with the

probation officer - he has fully accepted responsibility for his wrongful conduct in this matter.

         VIII. REEDER'S ---- INTERVIEW WITH FBI AGENTS

         In the government' sentencing memorandum, it includes excerpts from Reeder's interview

with the FBI agents. A review of the entire interview presents a different picture than that

suggested in the government's sentencing memorandum. In the statement Reeder consistently

acknowledges his responsibility for his conduct and the wrongfulness of his actions. Attached to

this memorandum is a transcript of the entire interview.

         Significant portions of the interview include the following excerpts:

                REEDER'S INITIAL ENTRY INTO THE CAPITOL BUILDING &
            ACKNOWLEDGEMENT OF THE WRONGFULNESS OF HIS ACTIONS


Reeder:         …say or relate to. It is just everyone was kind of, you know, the.., the gate was
                open and all the cattle went.., went…,

Thoman:         Right.

Reeder:         …went out.

:               (Whispers). Yeah.

Thoman:         Like I…, I’m not trying to minimize what happened and…

Locke:          (Whispers). (Unintelligible).

Thoman:         …what you did that day, um, but what I can tell you is that we are having this
                conversation…

Reeder:         (Whispers). Yeah.

Thoman:         …with many, many, many people…

Reeder:         (Whispers). Hmph hmph.

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Thoman         …so I know this is weighing very heavy. It.., it’s clear to me it’s just “weighing
               very heavy on you…,”

Reeder:        Uh huh.

Thoman:        …um, and I can feel that from you.

Locke:         (Whispers). (Unintelligible).

Thoman:        Um.., again, I just wanna impress upon you that we are having this conversation
               with many, many, many people…

Reeder:        (Whispers). Hmph hmph.

Thoman:        …and…

Reeder:        (Whispers). Uh huh.

Thoman:        …we appreciate your candor…,

Reeder:        (Whispers). Hmph hmph.

Thoman:        ….um.., and just asking you c.., again…,

Locke:         (Whispers). (Unintelligible).

Thoman:        …continue being truthful with us…

Reeder:        Yeah.

Thoman:        …so…

Locke:         (Whispers). (Unintelligible).

Thoman:        …it.., it’s a lot, you know? (Slight laugh in voice). I mean you were there with
               so many different people seeing this all together and.., and…

Reeder:        (Whispers). Hmph hmph.

Thoman:        …um.., again, I just appreciate you being…

Reeder:        Hmph hmph.

Thoman:        …truthful with us and I can see that this is, you know, been…



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:              Hmph hmph.

Thoman:        “…weighing heavy on you” so…

Locke:         (Whispers). Hmph hmph.

Thoman:        …again, all I ask when I do ask some tough questions, um, ah, there are questions
               I have to ask you…

                                                 ***

Reeder:        When I back up all this stuff.., (takes a breath).., and I think about it..,

Locke:         (Whispers). (Unintelligible).

Reeder:        ..so many times…,

Locke:         (Whispers). Uh huh.

Reeder:        …and it’s import… This is very important.

Locke:         (Whispers). (Unintelligible).

Reeder:        I’m not a victim t… I.., I don’t wanna claim to be a victim of anything.

Locke:         Yeah.

Reeder:        Nothing. I’m a victim of my own stupid choices…

Thoman:        Hmph hmph.

Locke:         (Whispers). Yeah.

Reeder:        …and.., and actions….

Locke:         (Whispers). Yeah.

Reeder:        …that I deeply, deeply regret…

Locke:         (Whispers). Hmph hmph.

Reeder:        …’cause it has changed my life forever.


                REEDER'S ATTENDANCE AT THE RALLY AND PRESENCE


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              AT THE CAPITOL WAS A SPUR OF THE MOMENT DECISION

Reeder:        But that’s not really why I was down there.

Thoman:        Hmph hmph.

Reeder:        Um, I was just own there to, you know..,

Locke:         (Whispers). Uh huh.

Reeder:        …be part of the crowd and then…,

Locke:         (Whispers). (Unintelligible).

Reeder:        …my r…, in my original plan was after the.., the Trump speech…

Locke:         (Whispers). (Unintelligible).

Reeder:        …was to walk towards either the Lincoln Memorial or towards the Jefferson
               Monument…

Locke:         (Unintelligible).

Reeder:        …and just have a good day because it was a nice day.

Locke:         (Whispers). (Unintelligible).

Reeder:        Um, but then again, I made that decision.

Locke:         (Whispers). (Unintelligible).

Reeder:        It was kind of penned in with all the fences and stuff…

Locke:         Uh huh.

Reeder:        …and I don’t wanna use those as an excuse but everyone was walking down
               Constitution Avenue you said it was…

Thoman:        Hmph hmph.

Locke:         (Whispers). Ah, yeah.

Reeder:        …and I was just following. I just figured, okay, well…

Locke:         (Whispers). Hmph hmph.


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Reeder:        …I’ll either break away…

Locke:         (Whispers). Hmph hmph.

Reeder:        …and go to the Smithsonian or walk around the mall and then go to the
               Smithsonian Metro…

Locke:         (Whispers). (Unintelligible).

Reeder:        …or go down to the Capitol and go to the Union Station Metro.

Thoman:        Hmph hmph.

Locke:         (Whispers). (Unintelligible).

Reeder:        Um.., so I decided to follow the crowd stupidly.

Locke:         (Whispers). (Unintelligible).


  REEDER TOOK STEPS TO PROTECT THE INTERIOR OF THE CAPITOL BUILDING
          AND DID NOT DESTROY ANYTHING OR ENTER ANY PRIVATE OFFICES


Reeder:        …you know, when I was in the.., inside the Capitol, I didn’t touch anything. You
               heard me yelling…,

Locke:         (Whispers). Uh huh.

Reeder:        …you know, don’t destroy anything and I’ll get to that in a second ‘cause I heard
               someone else sayin’ somethin’..,

Locke:         (Whispers). Uh huh.

Reeder:        …and I felt a need to like shout out…

Locke:         (Whispers). Hmph hmph.

Reeder:        …to everyone like don’t…

Thoman:        Hmph hmph.

Reeder:        …destroy anything ‘cause…

Locke:         (Whispers). Uh huh.


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Reeder:        …we were in that ah.., hall of statues I think it’s called.

Thoman:        Rotunda?

Locke:         (Whispers). Uh huh.


****

Reeder:        …I find myself in like one of the most beautiful places I’ve ever been…

Locke:         (Whispers). Yeah, yeah.

Reeder:        …and I’m literally there just spinning in circles with my camera in disbelief
               checking…

Thoman:        Hmph hmph.

Reeder:        …the place out…

                                               *****

Thoman:        Did you go into anybody’s offices?

Reeder:        No, no offices. No. I didn’t go anywhere that I wasn’t supposed to..,

Thoman:        (Whispers). Right.

Reeder:        …didn’t touch anything. I didn’t even touch ah..,

Locke:         (Whispers). Uh huh.

Reeder:        …the walls while I was in there.


       EARLY ON REEDER TRIED FIND A WAY OUT OF THE CAPITOL BUILDING

Reeder:        …and I went back to the Rotunda and they had closed the doors I believe at that
               point…

Locke:         (Whispers). Hmph hmph.

Reeder:        …and people were like they’ve trapped us in here…


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Locke:         Yeah. (Whispers). Hmph hmph.

Reeder:        …so I was like oh God, so I saw a…

Locke:         (Whispers). Hmph hmph.

Reeder:        …Capitol Hill Police guard go down this hallway and I went after him and I was
               like hey, can you..,

Locke:         Hmph hmph.

Reeder:        …you know, tell me how to get out of here?

Thoman:        Hmph hmph.

Locke:         (Whispers). Uh huh.

Reeder:        I just wanna get out of here.., I just wanna get out of here.

Locke:         (Whispers). Yeah, yeah, yeah, yeah.

Reeder:        So he led me down the long hallway.

Thoman:        Hmph hmph.

Reeder:        This is the…

Locke:         (Whispers). Uh huh.

Thoman:        Hmph hmph.

Reeder:        …spiral staircase from the Rotunda…

Locke:         Hmph hmph. Hmph hmph.

Reeder:        …down… There’s a long hallway that goes I guess the length of the Capitol…

Locke:         (Whispers). Right.

Reeder:        …and lets out at…

Locke:         (Unintelligible).

Reeder:        …whatta we gonna call it, the South Entrance?

Locke:         (Whispers). (Unintelligible).

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Thoman:        That’s when you were taking a video out..,

Locke:         Hmph hmph.

Thoman:        …when you were outside?

Reeder:        No. Well…

Thoman:        (Whispers). Uh huh.

Reeder:        So he led me down the hallway.., this long hallway…

Locke:         (Whispers). Uh huh.

Reeder:        …and about…

Thoman:        Uh huh.

Reeder:        …half way down..,

Thoman:        (Whispers). Hmph hmph.

Reeder:        …he got a call on his thing and he said…

Locke:         (Whispers). (Unintelligible).

Reeder:        …I gotta go. He’s like see that h.., that door right down there? It was about…
               (Sighs). I guestimate a hundred feet away….

Locke:         (Whispers). Uh huh.

Reeder:        …and it was a door leading to the outside.., to the outside…

Locke:         (Whispers). Uh huh.

Reeder:        …and see that door out there…

Locke:         Hmph hmph.

Reeder:        …just keep heading for it and.., and go out that door and I said okay, thank you
               very much…,

Locke:         Hmph hmph.

Reeder:        …so he turned around…

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Locke:         Hmph hmph.

Reeder:        …and he left and as I was walking down that…

Locke:         Hmph hmph.

Reeder:        …hallway…,

Locke:         (Whispers). Uh huh.

Reeder:        …I saw a large group of police officers appear…

Locke:         (Whispers). Uh huh.

Reeder:        …just in front of that door. They.., they came from a side hallway…,

Thoman:        Hmph hmph.

Reeder:        …appeared at that door..,

Thoman:        Hmph hmph.

Reeder:        ...so I paused for just a moment and I was like well I gotta get out…, I can’t go
               back…,

Locke:         (Whispers). Uh huh.

Reeder:        …so I kept on walking down that hallway and as I walked, that ah..,

                                               ****

Reeder:        Um.., so I walked out the door immediately and I proceeded around the Capitol…

Locke:         (Unintelligible). (Whispers). Uh huh.

Reeder:        ..to get back to the Mall to try and…, I was thinkin’ like go home.., go back to my
               friend or go home…

Thoman:        Hmph hmph.

Reeder:        …whatever.., just go…

Thoman:        (Whispers). Uh huh.



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Reeder:        …and as I walked around, there was a whole, ah, group of police officers
               probably…

Locke:         (Sighs).

Reeder:        …fifty of them or so…,

Locke:         (Whispers). (Unintelligible).

Reeder:        …and this is what I’m filming…

Locke:         (Whispers). Uh huh.

Reeder:        …and um.., I just wanted to get back to the mall and they said no, you can’t come
               this way and I said well how do you get out of here. They told me to come…

Thoman:        Hmph hmph.

Reeder:        …this way and all that stuff. He said well…

Locke:         (Whispers). (Unintelligible).

Reeder:        And then…

Locke:         Hmph hmph.

Reeder:        …I think an undercover officer…

Locke:         (Whispers). Yeah.

Reeder:        …said here, I’ll take you guys with… There’s like someone else with me…

Locke:         (Whispers). Yeah.

Reeder:        …I believe…


                                               ****




Reeder:        …and um.., when I asked the police like how to.., you know, I just wanna go back
               to the mall.., they said no, you gotta go back the other way…

Locke:         (Whispers). (Unintelligible).

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Reeder:        …and I said well they.., they said that, you know, I was supposed to come this
               way and they said just go back…

Thoman:        Hmph hmph.

Reeder:        …and then a guy said I’ll.., I’ll take you.

Thoman:        Hmph hmph.

Reeder:               I think that’s on the video…

Thoman:        Hmph hmph.

Reeder:        …or somethin’ like that…,

Locke:         (Whispers). (Unintelligible).

Reeder:        …and um..,

Locke:         (Whispers). Hmph hmph.

Reeder:        …when I turned.., we started walkin’.., there was another…

Locke:         Hmph hmph.

Reeder:        …person, you know, random person or somethin’ there I guess…,

Locke:         (Whispers). (Unintelligible).

Reeder:        …and they started walkin’ with us and then he said, you know, just go towards
               the ambulance…

                                     THE SECOND ENTRY

Reeder:        Why I went back in because that’s what, you know..,

Locke:         (Whispers). Uh huh.

Reeder:        …my friends and…

Locke:         (Whispers). Hmph hmph.

Reeder:        …my lawyer said why’d you go back in? I mean that’s the (Unintelligible)…

Thoman:        Hmph hmph.

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Reeder:        …and it’s like I don’t know.

                     THE "BATTLE WITH THE POLICE" STATEMENT

Reeder:        …I’m leaving the Capitol now…

Thoman:        Hmph hmph.

Locke:         (Whispers). Hmph hmph.

Reeder:        …and all this stuff and…

Locke:         (Takes a breath).

Reeder:        …I.., I…

Thoman:        So…

Reeder:        …mistakenly said the word “did battle…

Thoman:        (Slight Laugh).

Reeder:        …with the police” which was…

Thoman:        Well I was.., I was gonna ask you about that.

Reeder:        Completely stupid choice of words.

Thoman:        So what did you mean when you said that?

Reeder:        Ah…, (sighs)..,

Thoman:        (Whispers). Hmph hmph.

Reeder:        …I just meant that it was…

Thoman:        (Whispers). (Unintelligible).

Reeder:        The.., the police and the protesters were in the.., the “crush,” you know…,

Thoman:        Hmph hmph.

Reeder:        …and that’s kind of what I meant by bowels and um…, it was whatever.., but I
               didn’t.., I didn’t push or get, you know..,


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Thoman:        Hmph hmph.

Reeder:        …battle with any of the police…

Thoman:        (Whispers). (Unintelligible).

Reeder:        Um…

Thoman:        So what…

Reeder:        S…

Thoman:        So to be clear, when you said we did battle with the police, what do you mean by
               that?

Locke:         (Whispers). Hmph hmph.

Reeder:        I just meant… (Sighs). (Whispers). Gosh. Nothing that means probably what at
               face value that statement on…

Locke:         (Whispers).

Reeder:        …paper would..,

Thoman:        Hmph hmph.

Locke:         (Whispers). Uh huh.

Reeder:        …would mean.

Locke:         (Whispers). Uh huh.

Reeder:        Um…

Locke:         (Whispers). Uh huh.

Reeder:        I really don’t know ah.., ah… It just meant that we got in.., in…

Thoman:        Hmph hmph.

Reeder:        …I don’t wanna say a pushing match.., which is what happened. It was a…, it
               was just a…

Thoman:        Hmph hmph.

Reeder:        …very bad choice of words. It means that um…,

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Locke:         (Whispers). Uh huh.

Reeder:        …the protestors…

Locke:         (Unintelligible).

Reeder:        …were in.., in conflict with the poli… I.., I…

Thoman:        Uh huh.

Reeder:        …really don’t know…

Thoman:        (Whispers). Uh huh.

Reeder:        …what to say...

Thoman:        Hmph hmph.

Reeder:        Um…,

Locke:         If you… I mean you’re…

Reeder:        It’s not… Ah.., ah.., you…

               (Sighing Noise).

Locke:         In answering the question, you need to focus on the time you made the statement,
               not now…

Thoman:        (Whispers). Hmph hmph.

Locke:         …trying to figure out…,

Reeder:        (Whispers). (Unintelligible).

Locke:         ...’cause if you don’t know why you said it.., you just said it in the spur of the
               moment.., you don’t know why.., there’s a reason why…,

Reeder:        (Whispers). Uh huh.

Locke:         …you know, whatever it is.., just try to go back…

Reeder:        (Whispers). Hmph hmph.

Locke:         …and.., and…

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Reeder:        It.., it was just a poor…,

Locke:         …think about what you been thinking about…

Reeder:        …it was just a poor choice of words and again..,

Locke:         (Whispers). Uh huh.

Reeder:        …I was so physically exhausted and…

Locke:         (Whispers). (Unintelligible).

Reeder:        …from the.., from that “crush…”

Locke:         Hmph hmph.

Reeder:        …and then everything, you know, happening…,

Locke:         (Whispers). Uh huh.

Reeder:        …I was like I think that, that’s when I started to realize that it wasn’t, you
               know..,

Locke:         (Whispers). (Unintelligible).

Reeder:        …ah, that this was a part of history and that’s why I did that. Like I’m leaving the
               Capitol now.

Thoman:        Hmph hmph.

Locke:         (Whispers). Uh huh.

Reeder:        Um..,

Locke:         All right.

Reeder:        …you know, I mean I…

Locke:         (Whispers). Yeah.

Reeder:        You just… (Sighs). I.., I don’t know how to answer that question except that I
               didn’t mean it…

Thoman:        Hmph hmph.



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Reeder:        …the way that I said it.

Thoman:        (Whispers). (Unintelligible). So you…

Reeder:        I didn’t mean that like I was doing battle…

Locke:         (Whispers). Uh huh.

Reeder:        …with the police. I didn’t..,

Thoman:        Right.

Locke:         (Whispers). Hmph hmph.

Reeder:        …I didn’t mean… It was a very poor choice of words.

Thoman:        (Unintelligible).

Reeder:        At that time, I wasn’t again thinking…

Locke:         (Whispers). (Unintelligible). (And/or taking a breath).

Thoman:        Hmph hmph.

Reeder:        …right. I was um…

Thoman:        Because you don’t…

Reeder:        Uh huh.

Thoman:        …strike me as a violent person…,

Reeder:        Hmph hmph (no).

Thoman:        …um…, so.., and having gone through everything, ah.., having gone through your
               phone.., having reviewed the Capitol footage…

Locke:         (Whispers). Yeah, yeah, yeah.

Thoman:        …and ah…,

Reeder:        Uh huh.

Thoman:        …talking to you now, I.., that…

:              Hmph hmph.

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Thoman:        …brings.., still “rings true to me” that you’re not a violent person…

   LEARNING ABOUT THE DESTRUCTIVE BEHAVIOR UPON HIS RETURN HOME

Reeder:        I jumped on the Metro train.., I went back to my house.

Thoman:        (Whispers). Hmph hmph.

Reeder:        Um, it only took like…

Locke:         (Whispers). Uh huh.

Reeder:        …forty, forty-five minutes to get back home.

Locke:         (Whispers). (Unintelligible).

Reeder:        Um…,

Thoman:        (Sighs).

Locke:         (Whispers). (Unintelligible).

Reeder:        …I got in the house…

Locke:         (Whispers). Hmph hmph.

Reeder:        …and turned on the T.V….

Locke:         (Whispers). Yeah.

Reeder:        …and they were showing pictures of what was happening at the Capitol.

Locke:         (Whispers). Hmph hmph.

Reeder:        It made me sick. Okay, there’s a (Unintelligible) here or whatever you wanna call
               it…,

Locke:         (Whispers). Hmph hmph.

Reeder:        …but I felt sick and I’m like I hope the police get those guys, you know, and…

Thoman:        Hmph hmph.

Reeder:        …arrest them and jump…,


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                 REMORSE ; ACCEPTANCE OF RESPONSIBILITY;
           PERSONAL CONSEQUENCES OF INVOLVEMENT AT THE CAPITOL

Thoman:        But that’s ah.., and again, you’ve been incredibly cooperative through this whole
               process. I’ve.., I worked with Mister Bonsib before. It… Everything has been
               incredibly…

Locke:         (Whispers). Yeah.

Thoman:        …professional on um.., from both of you and I hope that you have felt it’s been
               the same way from us.

Reeder:        Hmph hmph.

Locke:         (Whispers). (Unintelligible).

Thoman:        All we care about is the truth, um, so we really appreciate you being forthcoming
               with providing your phone.., providing those videos…,

:              Hmph hmph.

Thoman:        …um.., because that makes our..,

:              (Unintelligible).

Thoman:        …our jobs a lot easier.

Locke:         (Whispers). Right.

Thoman:        …um.., but again, just sheds light on…

Locke:         (Whispers). Uh huh.

Thoman:        …what happened and that’s why we’re asking these questions is…

Reeder:        Yeah. There’s…

Thoman:        …we…

Reeder:        Okay.

Thoman:        That’s what we’re here for…

Locke:         (Whispers). Uh huh.

Thoman:        …is to figure out what happened…

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:              Hmph hmph.

Locke:         (Whispers). Hmph hmph.


                                               ****

Reeder:        I don’t wanna be part of that in remembering.., remembrance…

Locke:         (Whispers). Right.

Reeder:        ‘Cause that’s not, you know, who I am or what I was there for…

Locke:         (Whispers). Okay.

:              (Whispers). (Unintelligible).

Reeder:        …and I made some stupid, stupid decisions…

Locke:         (Whispers). Uh huh.

Reeder:        …and ah…

Locke:         (Slight Laugh).

Thoman:        (Whispers). (Unintelligible).

Reeder:        To say that it’s the biggest mistake of my life is an understatement. Um, it’s…

                                               *****

Reeder:        Starting with listening to news then deciding to go down there…


Locke:         (Whispers). Uh huh.

Reeder:        …on a whim that morning…

Locke:         (Whispers). Uh huh.

Reeder:        …and ah.., it’s just the biggest mistake in my life and…

Locke:         (Whispers).


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Reeder:        …I’m not saying that I’m not innocent, um, but I just don’t wanna be lumped in
               with those other people…

Locke:         (Whispers). Right.

Reeder:        …that I want you guys to go and get and…,

Locke:         (Whispers). Yeah.

Reeder:        …you know, prosecute.

Locke:         (Whispers). Uh huh.

Reeder:        This.., this whole ordeal has cost me (slight laugh) more than you can imagine.
               (Slight laugh in voice). When we started out, you said, you know, I can imagine
               how you feel or what…

Locke:         (Whispers). (Unintelligible).

Reeder:        I have lost my job…,

Locke:         (Whispers). (Unintelligible).

Reeder:        …I’ve lost the ability to coach…

Locke:         (Whispers). Yeah.

Reeder:        …and scouts which was really meaningful to me. Um, I don’t even wanna go
               back to my church which is…

Locke:         (Whispers). Yeah.

Reeder:        …one of the largest in Maryland. Um…,

Locke:         (Whispers). Yeah.

Reeder:        …I used to have my son all the time…

Locke:         (Whispers). Uh huh.

Reeder:        …but my son’s name is Robert Reeder…

Locke:         (Whispers). Uh huh.

Reeder:        …(begins to cry) so my son who had nothin’ to do with this…, is known to feel
               the effects and he’s now staying with his mother (snorts) and um..,

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Locke:         (Sighs).

Reeder:        …(sighs) I don’t see him much anymore because she doesn’t and he doesn’t
               wanna, you know..,

Locke:         (Makes unintelligible sounds).

Reeder:        …because of this disgrace…

Locke:         (Whispers). (Unintelligible).

Reeder:        …and it’s gonna follow him around too because of his name.

Locke:         (Whispers). (Unintelligible).

Reeder:        Um.., my neighbors won’t even talk to me anymore and we had great
               relationships but they all talk and found out and, you know…,

Locke:         (Whispers). Uh huh.

Reeder:        …be walking out to my car and see them ah.., and I’ll say hi and they won’t even
               say hi back and that.., that hurts… (Slight cry in voice).

               (Background Noise).

:              (Sighs or whispers).

Reeder:        …and it’s changed the way that I live my life.

Locke:         (Whispers). (Unintelligible).

Reeder:        Um..,

:              (Unintelligible Noises).

Reeder:        …you know, early on, Bob just said stay off social media.., stay low…,

Locke:         Hmph hmph.

Reeder:        …all that stuff. I don’t want…

:              (Unintelligible Noises).

Reeder:        One of my cures is not to watch the news. I mean I don’t even know what the
               weather’s gonna be.

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Thoman:        Hmph hmph.

Reeder:        I…

Locke:         (Whispers). Yeah.

Reeder:               Um…,

Locke:         (Whispers). (Unintelligible).

Thoman:        And yeah, I can’t… What…

Reeder:        But I don’t do anything. Someone that was so active in Scouts and coaching,
               soccer and baseball and church and everything and, and working…, (snorts).., my
               whole life has been changed.., turned upside down because of this stupid…

Locke:         (Whispers). Uh huh.

Reeder:        …stupid mistake that I made…

Locke:         (Whispers). Uh huh.

Reeder:        …and ah.., it’s gonna follow me for the rest of my life. I’m gonna have to live
               with it and I don’t know what that’s gonna mean so far as getting a.., a new job.
               (Snorts). Um…, I don’t (slight laugh in voice) think that, that’s.., you know, what
               I apply to somewhere, somebody in Human Resources is just gonna Google my
               name…

Locke:         (Whispers). Oh yeah.

Reeder:        …and this is gonna pop up…

Locke:         (Whispers). (Unintelligible).

Reeder:        …so…,

Locke:         (Sighs).

Reeder:        …um.., it’s frightening in that way…

Thoman:        Hmph hmph.

Reeder:        …to know…

Thoman:        I… When I said earlier that I can imagine…

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Reeder:        (Sighs).

Thoman:        …it’s like.., and what I meant is I can’t imagine…,

Reeder:        (Whispers). (Unintelligible).

Thoman:        …um, ‘cause I haven’t “been in your shoes” and…

:              (Unintelligible).

Thoman:        …what I can tell you though..,

Reeder:        (Unintelligible).

Thoman:        …is that of all of the…

:              Hmph hmph.

Thoman:        …Capitol investigations…

Reeder:        (Whispers). Hmph hmph.

Thoman:        …that we have…,

:              (Coughs).

Thoman:        …um.., you are the only one…

Reeder:        (Unintelligible).

Locke:         Hmph hmph.

Thoman:        …for us that has tried to get out ahead of this that got legal representation…,

Reeder:        Hmph hmph.

Thoman:        …that…

Locke:         (Whispers). (Unintelligible).

Thoman:        …has been extremely cooperative..,

Reeder:        Uh huh.

Thoman:        …um.., out of the gate…

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Reeder:        Uh huh.

Thoman:        …and I think that says a lot about your character, um..,

Reeder:        Hmph hmph.

Thoman:        …and I do believe that you’ve been truthful here today even when we’re asking
               the tough questions….

Reeder:        (Snorts).

Thoman:        Again, we ah.., part of it is…, I’m just going through our list…,

Reeder:        (Sighs).

Thoman:        …um.., and you’re doing all the right things to… You know, you can’t change
               the past…

Reeder:        (Whispers). Uh huh.

Thoman:        …but impact the future and you’re doing all the right things to get yourself there.

Locke:         (Whispers). Uh huh.

Thoman:        Um, this interview is…

:              (Background Noise).

Thoman:        …hopefully gonna be one of the last steps…

Locke:         (Whispers). Uh huh.

Thoman:        …to keep the legal process rolling so…

Locke:         (Whispers). Right.

Thoman:        …you.., you know, you can put that behind you.

Locke:         (Whispers). Hmph hmph.

Thoman:        Um…

Reeder:        (Unintelligible). Um, thank you for saying that. I’m… And I mean I wanna say
               (clears throat).., it’s like I wanna say I didn’t do anything wrong (takes a breath)
               but I know that I did. I was there. I went into…

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Locke:          (Sighing Noise).

Reeder:         …the Capitol without permission. I should have known better…

Thoman:         Hmph hmph.

Reeder:         …but again, this whole not thinking and just walking in like…, like it was okay
                to.., like no one stopped me…,

Locke:          (Whispers). (Unintelligible).

Reeder:         …um…

Locke:          Hmph hmph.

Reeder:         I said I… I wanna say I didn’t do anything wrong but.., but I know that I did.

Locke:          (Whispers). (Unintelligible).


                                                  ****

Thoman:         …with us, um, and I appreciate…

:               (Unintelligible sound).

Thoman:         …you coming in today and, again, this is just something I wish that…,

:               (Whispers). (Unintelligible).

Thoman:         …um, and you will find this out…, that not most ninety-nine percent of the
                interviews that I do are not like this (slight laugh in voice) and…

Reeder:         Hmph hmph.

Thoman:         …it’s refreshing to me for what it is worth.

Reeder:         Well thank you for saying that.

         IX.   CONCLUSION

         For each and all of the foregoing reasons it is respectfully submitted that the Court should

sentence the Defendant to a term of probation, with such terms and conditions as the Court


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deems appropriate and, consistent with the plea agreement, order that the Defendant pay

restitution in the amount of five hundred dollars. Reeder's request for a probationary sentence,

supported by the recommendation in the PRS, is both an appropriate and reasonable sentence in

this matter.

                                                   Respectfully submitted,

                                                   MARCUSBONSIB, LLC

                                                   /s/ Robert C. Bonsib
                                                   __________________________
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing was served this 11th day of August,

2021 via CM/ECF to: Assistant United States Attorney Joshua Rothstein.




                                                   /s/ Robert C. Bonsib
                                                   __________________________
                                                   Robert C. Bonsib




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